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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Unite Here Local 1,                               )
                                                  )
               Plaintiff,                         )
                                                  )           No. 1:24-cv-00707
       v.                                         )
                                                  )           Judge April M. Perry
Magnificent Mile Hotel Management LLC,            )
d/b/a Chicago Hotel Collection,                   )
                                                  )
               Defendant.                         )

                                     OPINION AND ORDER

        Before the Court are Plaintiff Unite Here Local 1’s motion to confirm arbitration award
[28] and Defendant Magnificent Mile Hotel Management LLC’s cross-motion to vacate
arbitration award [30]. For the reasons detailed herein, Plaintiff’s motion is granted, and
Defendant’s motion is denied.
                                         BACKGROUND
        Defendant and Plaintiff are parties to a collective bargaining agreement (“CBA”) and
Letter of Agreement (“Agreement”). Doc. 8 at 2. The Agreement includes a provision requiring
arbitration in certain circumstances, including for grievances that involve employee terminations.
Id. To select arbitrators, the Agreement states that “unless the Union and the Employer agree
upon an Arbitrator, the Arbitrator shall be selected by random drawing” from a list of nine
arbitrators. Id. at 3. On December 8, 2023, the parties’ representatives met via Zoom meeting to
select an arbitrator for an underlying grievance. Id. at 5. Plaintiff’s representative proceeded to
share their screen, enter the names of the nine prospective arbitrators on www.random.org, and
press the command to generate a random number list. Doc. 14 at 5; Doc. 16-1 at ¶ 8. An
unrelated arbitration was pending between the parties before Arbitrator Peter Meyers, so
Defendant requested that his name be left off the list. Id. Plaintiff declined, and the website’s
randomized selector chose Peter Meyers as the designated arbitrator. Id.
        There was no dispute regarding the validity of the arbitration agreement or the
arbitrability of the grievance. But Defendant did object to the selection of Peter Meyers through
the randomized online program. Doc. 9. Defendant framed the standoff as a “lapse” under
Section 5 of the Federal Arbitration Act. See 9 U.S.C. § 5 (noting that a court has jurisdiction to
appoint an arbitrator “if for any other reason there shall be a lapse in the naming of an arbitrator
or arbitrators or umpire …”). After briefing and oral argument, the Court declined to appoint an
arbitrator, finding that the arbitrator had been selected “in a reasonable manner consistent with
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the text of the CBA.” Doc. 21. The Court therefore granted Plaintiff’s Motion to Compel
Arbitration. Id.
        The case proceeded to arbitration and Arbitrator Meyers conducted a hearing and then
issued a written report with his findings. Doc. 28 at 8-27. The grievance at issue involved
Grievant’s use of a knife while at work. It was undisputed at the hearing that Grievant regularly
carried a knife, that he used it at work for cutting down boxes and other similar tasks, and that
his supervisors knew this. Id. at 15, 17-18. On September 14, 2023, however, Grievant had his
knife in his hand for “comfort” and was flicking it in a way that made another employee
uncomfortable. Id. at 16. Arbitrator Meyers found that the surveillance video showed that the
knife was out for a short period of time and then was returned by Grievant to his pocket. Id. at
24. When management intervened, Grievant produced the knife and management determined that
it was 3 ½ inches long and therefore illegal. Id. at 13. Management called the police, who
ultimately responded and refused to arrest Grievant; the police did confiscate the knife,
apparently telling Grievant to use a fidget spinner instead. Id. at 18, 20. Three days later,
Grievant was terminated for violating Defendant’s zero tolerance policies prohibiting
intimidation, workplace violence, and possession of weapons. Id. at 18, 21.
        After considering all of this, Arbitrator Meyers determined that Defendant had not met its
burden of establishing just cause for the termination. In this case, just cause required a showing
that Grievant violated Defendant’s rules, that the violation was serious enough to justify the
imposition of discipline, that the level of discipline was not arbitrary or capricious, and that the
decision was not discriminatory or too harsh. Id. at 22. Arbitrator Meyers determined that this
standard had not been met because, among other things, Grievant had not acted in a vicious and
threatening manner toward his colleague and hotel management knew previously that Grievant
carried the knife with him. Id. at 25-26. Arbitrator Meyers directed Defendant to reinstate the
Grievant with full backpay, minus a 10-day suspension and minus interim earnings, but with
seniority and benefits intact. Id. at 27.
        Defendant has refused to comply with the arbitrator’s order. It now argues that it should
not have to, both because the arbitrator exceeded his powers and because the award was against
public policy. Doc. 30 at 1.
                                           ANALYSIS
        The Court begins with Defendant’s argument that the arbitrator exceeded his powers.
This is, in essence, a rehashing of Defendant’s argument that Arbitrator Meyers should not have
been selected: Defendant’s sole argument is that Arbitrator Meyers exceeded his powers by
having acted as arbitrator in this case at all. Defendant challenges this Court’s order upholding
Arbitrator Meyers’ selection on two bases. First, Defendant argues that the Court erred by
crediting Plaintiff’s view of the facts rather than Defendant’s. Doc. 30 at 1. Second, Defendant
argues that the Court erred by finding that the use of a random computer selection tool was a
“random drawing” under the terms of the Agreement. Doc. 30 at 2.
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        The Court notes that this case has been re-assigned to the current district judge since the
hearing regarding selection of an arbitrator. Therefore, this judge cannot speak directly to the
original judge’s factual findings. The original judge’s written ruling was, in part, as follows:
       [A]s Section 5’s first sentence notes, the Court is bound to the text of the CBA: “if in the
       agreement provision be made for a method of naming or appointing an arbitrator or
       arbitrators or an umpire, such method shall be followed.” 9 U.S.C. § 5. The CBA clearly
       provides for selection by “random drawing.” Green v. U.S. Cash Advance Illinois, LLC,
       724 F.3d 787, 792 (7th Cir. 2013) (“Section 5 applies ‘if no method be provided’ in the
       contract-that is, if the parties use the sort of detail-free clause we have just imagined.”);
       see also Wellpoint Health Networks, Inc. v. John Hancock Life Ins. Co., 547 F. Supp. 2d
       899, 914 (N.D. Ill. 2008), aff'd sub nom. WellPoint, Inc. v. John Hancock Life Ins. Co.,
       576 F.3d 643 (7th Cir. 2009). Magnificent Mile creates no serious dispute to the validity
       of an online random number generator to conduct “random drawing.” In fact, they
       acknowledge that they would have been amenable to drawing names out of a hat. It is
       apparent that Magnificent Mile is unhappy with the result of the drawing, but there is no
       “lapse” under Section 5 or compelling reason to allow a second bite at the selection
       process. See Hunt v. Moore Bros., Inc., No. 15-CV-0433-MJR-SCW, 2016 WL 9454071,
       at *4 (S.D. Ill. Feb. 5, 2016). An arbitrator was selected in a reasonable manner consistent
       with the text of the CBA.
Doc. 21.
        A review of the transcript of proceedings before the Court seems to amply support the
above findings. Doc. 22. Ultimately, however, this judge cannot determine why any of this
matters. To the extent Defendant believes that the Court should have appointed an arbitrator,
nothing would have stopped the Court from appointing Arbitrator Meyers. Doc. 22 at 9 (as
Defendant said in court: “You can appoint any name from the panel”); Doc. 9 at 6 (“Defendant
Employer moves this Court … to appoint an arbitrator from the listing in the Letter of
Agreement”). In fact, to the extent Defendant asks this Court to reconsider the original ruling,
Doc. 31 at 1, presumably the Court could agree and appoint Arbitrator Meyers now, nunc pro
tunc to the date when Defendant argues the court erred. Given that there were no concerns raised
about Arbitrator Meyers’ suitability or placement on the agreed list, Defendant was not “entitled
to the appointment of someone else from the list of arbitrators,” Doc. 31 at 3 (emphasis added).
Defendant was, at best, just entitled to the appointment of someone the Court chose from a list
that included Arbitrator Meyers. This seems like the very definition of harmless error (to the
extent there was error at all, which the Court does not find to be the case).
        Defendant next argues that the arbitrator’s decision to reinstate Grievant was against
public policy because Grievant engaged in a “menacing wielding of a dangerous weapon toward
another person” which is “against a well-defined and dominant policy against violence in the
workplace and especially against women.” Doc. 30 at 3. In reviewing the video evidence, the
arbitrator’s findings, the relevant case law, and the arguments of the parties, the Court declines to
find the arbitrator’s decision was against public policy.
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        Defendant’s entire argument rests on the video of the knife incident, which Defendant
argues shows Grievant “staring at [his colleague] with a menacing expression on his face, he
pulls a knife out of this pocket. He snaps his wrist hard to flick open the blade and holds out the
knife. He then continues advancing toward her, talking and gesticulating until he and she are out
of camera range.” Doc. 31 at 11-12. Suffice it to say, Defendant’s opinion of what the video
depicts is very different from the arbitrator’s. And, frankly, both opinions are different from this
Court’s.1 Which is, ultimately, why we have standards of review.
        The Supreme Court has warned that “Judicial review of a labor-arbitration decision … is
very limited. Courts are not authorized to review the arbitrator’s decision on the merits despite
allegations that the decision rests on factual errors or misinterprets the parties’ agreement.”
Major League Baseball Players Ass’n v. Garvey, 532 U.S. 504, 509 (2001). The arbitrator’s
factfinding may be “improvident, even silly,” and it will not “provide a basis for a reviewing
court to refuse to enforce the award. Id. “[I]f an arbitrator is even arguably construing or
applying the contract and acting within the scope of his authority, the fact that a court is
convinced he committed serious error does not suffice to overturn the decision.” Id. (internal
citations and quotation marks omitted). Moreover, courts “have no authority to disagree” with an
arbitrator’s honest judgment about the appropriate remedy. United Paperworkers Intern. Union,
AFL-CIO v. Misco, 484 U.S. 29, 38 (1987). In light of this clear mandate from the Supreme
Court, it would be inappropriate for this Court to reweigh the facts as determined by the
arbitrator or try to replace the arbitrator’s conclusion about the appropriate remedy with the
Court’s own.
        The final question then becomes whether the arbitrator’s award violated a “well defined
and dominant” public policy. W.R. Grace & Co. v. Local Union 759, Int'l Union of United
Rubber, Cork, Linoleum & Plastic Workers of Am., 461 U.S. 757, 766 (1983). In making such a
determination courts are not supposed to ask whether, generally, the award is in the public
interest. Misco, 484 at 43. Rather, the question is “whether the award created any explicit conflict
with other laws and legal precedents.” Id. (quotations omitted). While the public policy
exception defies precise definition, courts agree that it is “limited and narrow” and “has been
successfully invoked only very rarely.” Univ. of Chicago Med. Ctr. v. Teamsters Local 743, 235
F. Supp. 3d 1023, 1026 (N.D. Ill. 2016). The Court is aware of no case that finds that a public
policy against workplace violence has been violated by an employee’s reinstatement. Id. To the
contrary, courts have upheld reinstatement when employees: (1) fired gunshots into a
supervisor’s unoccupied car after being denied a promotion; (2) brought a gun to work; and (3)
made threatening statements to and about co-workers. Id. at 1026-27 (collecting cases). In all of
these cases, the arbitrators had decided that the grievants were unlikely to engage in future
violence, and the courts were not permitted to overturn those factual findings. Id.
       In this case, the arbitrator considered and rejected Defendant’s arguments that Grievant
posed a future safety risk. Arbitrator Meyers decided instead that Grievant was “goofing around”
with the knife and was not attempting to threaten his coworker. Doc. 28 at 25-26. He specifically

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 It appears to this Court that the knife is taken out of Grievant’s pocket by :38 on the video clock, at :41 that
Grievant is smiling at his colleague, and at :43 the knife is being returned to Grievant’s back pocket. Doc. 32.
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noted that the police who came to the scene to investigate determined that the appropriate
response was to tell Grievant to get a fidget spinner. Id. at 26. Arbitrator Meyers further noted
that Grievant had been employed by the hotel for sixteen years without any disciplinary record
and had no “bad blood” with the coworker at issue. Id. Given the arbitrator’s factual findings and
the narrow scope of the public policy exception, this Court cannot conclude that the arbitrator’s
decision violated public policy.
                                        CONCLUSION
      The Court confirms the arbitration award in this case, granting Plaintiff’s motion [28].
Defendant’s corresponding motion to vacate the arbitrator’s award [30] is denied.


Entered: 1/14/2025


                                                     United States District Judge
